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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                                CRIMINAL 13-0534CCC
1) JULIO RODRIGUEZ-CRUZ,
a/k/a “Pito Mini,” “Pito Uva,” “Mini,” “Enano,”
Pequeño,” “El Peque,” “Chiquito,” “El Jefe”
(Counts ONE through SIX)
2) VICTOR E. TIRADO-OSORIO,
a/k/a “Chapa,” “Víctor El Nazi,” “Bundi,”
“Pata Cloche,” “Pata Palo” (Counts ONE
through SIX)
3) MAURICE ROWE-FIGUEROA, a/k/a “Mo,”
“Muri,” “Muki” (Counts ONE through SIX)
4) JOSE E. DELGADO-RODRIGUEZ,
a/k/a “Emo,” “Fly” (Counts ONE through SIX)
5) JAIME DAVILA-REYES, a/k/a “Peluche”
(Counts ONE through SIX)
6) SANTOS J. RIVERA-MURIEL,
a/k/a “Cano Boom” (Counts ONE
through SIX)
7) JOSUE LOPEZ-CRUZ, a/k/a “Joshua”
(Counts ONE through SIX)
8) DORIS V. COLON-FIGUEROA
(Counts ONE through FIVE)
9) RAMON L. MOLINA-QUINTERO,
a/k/a “Carnal” (Counts ONE through SIX)
10) JOSE G. ORTIZ-CAMACHO,
a/k/a “Gualbert” (Counts ONE through SIX)
11) DORISOL ALVARADO-COLON
(Counts ONE through FIVE)
12) EDWIN X. COLON-ROMAN, a/k/a “Xavi,”
“Lacoste,” “Los Hermanos Dientes”
(Counts ONE through SIX)
13) EDWIN E. COLON-ROMAN, a/k/a “Eli,”
“Los Hermanos Dientes” (Counts ONE
through SIX)
14) CARMEN L. CAMACHO-ALMODOVAR
(Counts ONE through FIVE)
15) LUIS J. COLON-MORALES,
a/k/a “Roner,” “Papo Turbo,” “El Militar”
(Counts ONE through SIX)
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16) JOSUE E. MERCED-MURIEL,
a/k/a “Josue” (Counts ONE through FIVE)
17) MIKE CAMACHO-ALMODOVAR,
a/k/a “Michael,” “Pirata,” “El Vizco”
(Counts ONE through SIX)
18) WILLIAM LUCIANO-COLON, a/k/a “Apo”
(Counts ONE through FIVE)
19) ALEXIS HERNANDEZ-LOPEZ,
a/k/a “Alex Gati,” “Alexis Tulipa,” “Gatillin,”
“Gati” (Counts ONE through SIX)
20) ENRIQUE A. UREÑA-SERRANO,
a/k/a “Genaro” (Counts ONE through SIX)
21) JAYSON DAVILA-REYES (Counts ONE
through SIX)
22) CHRISTIAN M. ORTIZ,
a/k/a “Muppet Baby,” “La Mopeta”
(Counts ONE through SIX)
23) DENNIS ROWE-FIGUEROA,
a/k/a “Deno” (Counts ONE through SIX)
24) JEAN P. PEREZ-PEÑA, a/k/a “Jampi,”
“Muñequita” (Counts ONE through SIX)
25) LUIS M. SANTANA-REYES,
a/k/a “Victorino” (Counts ONE through SIX)
26) CHRISTIAN COLON, a/k/a “Lacoste”
(Counts ONE through SIX)
27) CHRISTIAN C. COLON-HERNANDEZ,
a/k/a “Lacoste” (Counts ONE through SIX)
28) JEAN C. PEREZ-PEÑA, a/k/a “Jean Ca”
(Counts ONE through SIX)
29) BRYANT N. PRIETO-PIZARRO
(Counts ONE through SIX)
29) JESUS SERRANO-MERCED,
a/k/a “Chikin,” “Latero” (Counts ONE
through SIX)
30) CARLOS ORTIZ-HERNANDEZ,
a/k/a “Starman” (Counts ONE through SIX)
31) RAFAEL J. BARBOSA-LOPEZ,
a/k/a “Bimbo,” “Barbo” (Counts ONE
through SIX)
32) LUIS VALENTIN-ROSARIO,
a/k/a “Luisito,” “Luis Vigi” (Counts ONE
through SIX)
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33) MARCOS R. RODRIGUEZ-
MALDONADO, a/k/a “Michael,” “El Viejo”
(Counts ONE through SIX)
34) RAFAEL DELGADO-CIRILO,
a/k/a “Tremendo” (Counts ONE through SIX)
35) ANGEL L. VILLAFAÑE-MARTINEZ,
a/k/a “Chupa,” “Joel” (Counts ONE
through SIX)
36) ANTHONY MUÑOZ-RIVERA
(Counts ONE through SIX)
37) JUAN A. FRANCO-ORTIZ, a/k/a “Joseito”
(Counts ONE through SIX)
38) ROBERTO J. LOPEZ-HERNANDEZ,
a/k/a “Bebo” (Counts ONE through SIX)
39) ANTONIO A. NERIS-CASTILLO,
a/k/a “Don Francisco,” “Don Fra”
(Counts ONE through SIX)
40) JONATHAN ROQUE-BERMUDEZ
(Counts ONE through SIX)
41) JONATHAN ROSARIO, a/k/a “Pechito”
(Counts ONE through SIX)
42) FRANCISCO COTTO-GONZALEZ,
a/k/a “Gordo,” “Gordo Fat” (Counts ONE
through SIX)
43) GERLAD M. NAVARRO-DELGADO,
a/k/a “Pedro Pre” (Counts ONE through SIX)
44) RICARDO NUÑEZ-REYES (Counts ONE
through SIX)
45) JUAN C. OJEDA-MORALES, a/k/a “CJ”
(Counts ONE through SIX)
46) JOSE A. BONILLA-ROMAN, a/k/a “Gordo
Bonilla” (Counts ONE through SIX)
47) GERALDO FLORES-LAFORET,
a/k/a “Fortu” (Counts ONE through FIVE)
48) JOVAN MORALES-VICENTE,
a/k/a “Zohan,” “Lento” (Counts ONE
through SIX)
49) JULIO L. MAURAS-DE JESUS,
a/k/a “Bebe Maura” (Counts ONE
through SIX)
50) BRYANT DE JESUS-MOYET,
a/k/a “Chori” (Counts ONE through FIVE)
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51) GILBERTO LOPEZ-ANDINO,
a/k/a “Rubio,” “Gilbert” (Counts ONE
through FIVE)
52) IVAN DIAZ-DONES, a/k/a “Hormiguita,”
“Hormiga” (Counts ONE through FIVE)
53) JOSE A. FONSECA-LOPEZ, a/k/a “Nino,”
“Coscu” (Counts ONE through SIX)
54) JOSE CAMACHO-SANTIAGO,
a/k/a “Cheito,” “Cheo” (Counts ONE
through FIVE)
55) JOSE O. VELEZ-FLORES,
a/k/a “Cachibichi,” “Cachi” (Counts ONE
through FIVE)
56) JANETTE GONZALEZ-COTTO,
a/k/a “Janeto,” “Chamaquito” (Counts ONE
through FIVE)
57) JAYSON LOPEZ-BURGOS,
a/k/a “Chocolate,” “Shaka,” “Choco”
(Counts ONE through SIX)
58) ALEX FONTANEZ-BONILLA,
a/k/a “Gordo Chuzo,” “Gordo Burufa”
(Counts ONE through FIVE)
59) RICHARD N. ZAMBRANA-MEDINA,
a/k/a “Macho Galan,” “Raton” (Counts ONE
through FIVE)
60) JOSE DELGADO-VELEZ, a/k/a “Viejo,”
“Pipo,” “Papa Pajaro,” “Listoman”
(Counts ONE through FIVE)
61) ARNALDO J. DIAZ-GARCED,
a/k/a “Falo” (Counts ONE through SIX)
62) EDWIN GOMEZ-SANTOS,
a/k/a “Gabitol” (Counts ONE through SIX)
63) LUIS VARGAS-CRUZ, a/k/a “Bambino”
(Counts ONE through SIX)
64) JESUS DE JESUS-ROSARIO,
a/k/a “Chuito” (Counts ONE through SIX)
65) MIGUEL A. COLON-TORRES, a/k/a “Tito
El De Guelo” (Counts ONE through FIVE)
66) JUAN C. DELGADO-RODRIGUEZ,
a/k/a “Yeyo” (Counts ONE through FIVE)
67) JOSEPH LOPEZ-CRUZ, a/k/a “Piwi”
(Counts ONE through FIVE)
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68) LUIS RAMOS-CLASS, a/k/a “Sorbeto”
(Counts ONE through FIVE)
69) ANGEL A. REYES-CANCHANI
(Counts ONE through FIVE)
70) ELIUD FIGUEROA-LOZADA,
a/k/a “El Gato” (Counts ONE through FIVE)
71) JESUS M. BAEZ-FONTANEZ
(Counts ONE through FIVE)
72) FRANCISCO ORTIZ-GARCIA,
a/k/a “Fran,” “Sixto” (Counts ONE
through FIVE)
73) WILFREDO J. SANTIAGO-OSORIO,
a/k/a “Papino” (Counts ONE through FIVE)
74) ORLANDO COTTO-MONTAÑEZ,
a/k/a “Tanaka” (Counts ONE through FIVE)
75) LUIS G. MAURAS-SUAREZ, a/k/a “Gaby
Maura” (Counts ONE through FIVE)
76) CARLOS E. MALDONADO-MATOS,
a/k/a “Rasca” (Counts ONE through FIVE)
77) LUIS O. LOPEZ-HERNANDEZ,
a/k/a “Omarcito” (Counts ONE through FIVE)
78) JEAN C. ROLON-ORTIZ, a/k/a “Yankee,”
“Casi Yankee” (Counts ONE through FIVE)
79) CATHERIA CARRILLO-LOZADA,
a/k/a “Cathy” (Counts ONE through FIVE)
80) CARLOS E. COTTO-MADERA,
a/k/a “Pirulo” (Counts ONE through FIVE)
81) SIXDIA COLON-LOPEZ (Counts ONE
through FIVE)
82) JORGE L. RODRIGUEZ, a/k/a “Piñita,”
“Piña” (Counts ONE through SIX)
83) RAISA A. RIVERA-AYALA (Counts ONE
through FIVE)
84) SUSAN M. PRATS-REYES, a/k/a “Sue”
(Counts ONE through FIVE)
85) NOEL REYES-CAMACHO (Counts ONE
through FIVE)
86) JOSE D. SANTOS-ALGARIN
(Counts ONE through FIVE)
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87) WILFREDO RUIZ-ROSARIO, a/k/a “Willy
Grasa,” “Willo” (Counts ONE through FIVE)
88) ERICK G. RAMOS-SEGARRA,
a/k/a “Mortadella,” “Morta” (Counts ONE
through FIVE)
89) LUIS D. CRUZ-ORTIZ, a/k/a “Titito,” “Luis
Mamadeo” (Counts ONE through FIVE)
90) GUILLERMO ORTIZ-TORRES,
a/k/a “Blinky” (Counts ONE through FIVE)
91) CESAR R. SALAMO, a/k/a “Papita”
(Counts ONE through FIVE)
92) JOSE L. REYES-FONSECA, a/k/a “Juni”
(Counts ONE through FIVE)
93) ANTHONY MARTINEZ-LOPEZ,
a/k/a “Hopkins,” “El Simio” (Counts ONE
through FIVE)
94) GABRIEL A. SANTIAGO-RIVERA,
a/k/a “Gaby,” “Calva Loca” (Counts ONE
through FIVE)
95) FRANCHESCA M. CAMACHO-
SANTIAGO, a/k/a “Shesca” (Counts ONE
through FIVE)
96) CAMILLE MELENDEZ-MARTINEZ
(Counts ONE through FIVE)
97) JOHN E. SANCHEZ-NAVEDO,
a/k/a “Zabra” (Counts ONE through FIVE)
98) ANTHONY R. MARTINEZ-LOPEZ,
a/k/a “Chucho” (Counts ONE through FIVE)
99) YAIMIR HERNANDEZ-CARABALLO,
a/k/a “Yani” (Counts ONE through FIVE)
100) CARLOS J. COTTO-MADERA,
a/k/a “Kijambel” (Counts ONE through SIX)
101) KARLA M. LOPEZ-CONCEPCION
(Counts ONE through FIVE)
102) CHRISTIAN J. ALGARIN-MARTINEZ
(Counts ONE through FIVE)
103) HECTOR R. RAMOS-VALDEZ,
a/k/a “Chambi” (Counts ONE through FIVE)
104) DAVID COLON-MAYMI, a/k/a “Davisito”
(Counts ONE through FIVE)
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105) EMI L. RUIZ-RIVERA, a/k/a “Mimi”
(Counts ONE through FIVE)
106) YVONNE M. MELENDEZ-MARTINEZ,
a/k/a “Washi” (Counts ONE through FIVE)
107) ANGEL D. CRUZ-GARCIA
(Counts ONE through SIX)
108) ROBERTO RAMOS-SEGARRA,
a/k/a “Junito” (Counts ONE through FIVE)
109) FERNANDO FIGUEROA-HERNANDEZ,
a/k/a “Beso Salsita,” “Freeze” (Counts ONE
through FIVE)
110) ROBERTO K. LOPEZ-CONCEPCION,
a/k/a “Tito” (Counts ONE through FIVE)
111) BENJAMIN MONTAÑEZ-ORTIZ,
a/k/a “Benji” (Counts ONE through FIVE)
112) JOSE RODRIGUEZ-MALAVE
(Counts ONE through FIVE)
113) JOSUE BAEZ, a/k/a “Yeye”
(Counts ONE through FIVE)
114) KEVIN DELGADO-VAZQUEZ
(Counts ONE through FIVE)
115) JOSE L. SANTIAGO-DEL VALLE,
a/k/a “Amarillo” (Counts ONE through FIVE)
116) JESSICA HUERTAS-SANTIAGO
(Counts ONE through FIVE)
117) ALEXANDER SANTIAGO-HUERTAS,
a/k/a “Alex El Loco” (Counts ONE
through FIVE)
118) GYRENE T. VILLANUEVA-ALVAREZ,
a/k/a “Kathy” (Counts ONE through FIVE)
119) FNU LNU, a/k/a “Bimbo II” (Counts ONE
through FIVE)
120) JUAN M. GONZALEZ-COTTO,
a/k/a “Juanma” (Counts ONE through FIVE)
121) EDWIN FERNANDEZ-CAMACHO
(Counts ONE through FIVE)
122) GISELA DEL VALLE-BURGOS
(Counts ONE through FIVE)
123) MODESTO ACEVEDO-BRISTO,
a/k/a “Tito Boa,” “Calvin Klein,” “Tito Ropa”
(Counts ONE through FIVE)
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 124) KEYLA L. GARCIA-MONTAÑEZ
 (Counts ONE through FIVE)
 125) LILLIAM VEGA-ORTIZ, a/k/a “Ponce”
 (Counts ONE through FIVE)
 126) JUAN A. ROSARIO-ROMAN,
 a/k/a “Pucho Cartucho” (Counts ONE
 through FIVE)
 Defendants



                                          ORDER

       Having considered the Report and Recommendation filed on July 23, 2014 (docket

entry 1506) on a Rule 11 proceeding of defendant [101] Karla M. Lopez-Concepción before

U.S. Magistrate-Judge Bruce J. McGiverin on July 17, 2014, to which no objection has been

filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The

Court FINDS that her plea was voluntary and intelligently entered with awareness of her

rights and the consequences of pleading guilty and contains all elements of the offense

charged in the indictment.

       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report since July 17, 2014. The sentencing hearing is set for November 6,

2014 at 4:30 PM.

       The U.S. Probation Officer is reminded that, should any objections be raised by

defendant to the PreSentence Report, the Addendum to said PreSentence Report must

specifically identify any unresolved objections, the grounds for the objections, and the

U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The

party that raised the unresolved objections shall, within twenty-four (24) hours after the

Addendum is disclosed, state in writing whether it will insist that the unresolved objections
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be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal

of the unresolved objections.

      SO ORDERED.

      At San Juan, Puerto Rico, on August 13, 2014.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
